










Opinion issued October 16, 2003



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO.  01-02-01333-CV




KOLL REAL ESTATE GROUP, INC., Appellant

V.

RUSSELL J. PERKINS; PHILLIP J. CALLIER; EDWARD COLLINS, JR.;
NORMAN J. CRUMPLER; UVALDO L. DAVILO; NOBLE FLANNAGAN;
RICHARD GERZINE; ROBERT A. GODWIN; WILLIAM J. JONES;
JOHNNY L. JONES; WILLIAM M. PRESTRIGE, JR.; JAMES STEWART;
MARVIN TALBOTT; AND LEROY D. THIBODEAUX, Appellees





On Appeal from the 10th District Court District Court
Galveston County, Texas
Trial Court Cause No. 02-CV-1045




MEMORANDUM OPINION 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Koll Real Estate Group, Inc., filed an interlocutory appeal from the
trial court’s December 10, 2002 order, in which the trial court denied appellant’s
special appearance.  On September 16, 2003, after the record and briefs had been filed
and the case had been submitted to the Court, appellant filed a motion to dismiss the
appeal, contending that the appeal was moot because appellant had been dismissed
from the underlying suit.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having considered the documents on file and appellant’s motion to
dismiss the appeal, is of the opinion that the motion should be, and hereby, is,
GRANTED.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the appeal is DISMISSED as moot.  See Le v. Kilpatrick, 112
S.W.3d 631, 633-34 (Tex. App.—Tyler 2003, no pet.) (holding interlocutory appeal
from denial of special appearance rendered moot by nonsuit of appellant in
underlying case).
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sherry Radack
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Panel consists of Chief Justice Radack and Justices Alcala and Higley.



